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 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
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11      ANTHONY BOUYER, an individual, Case No.: CV 20-3350-DMG (PLAx)
12
        Plaintiff,                              ORDER RE DISMISSAL OF ACTION
13
                                                WITH PREJUDICE [20]
14      v.
15      FAF INVESTMENT COMPANY, a
16      general partnership; and DOES 1-10,
        inclusive,
17

18      Defendants.
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             After consideration of the Joint Stipulation for Dismissal of the entire action
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      with Prejudice filed by Plaintiff Anthony Bouyer (“Plaintiff”) and FAF Investment
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      Company (“Defendant”), the Court hereby DISMISSES with prejudice the above-
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      captioned action, in its entirety. Each party shall bear his or its own costs and
23
      attorneys’ fees.
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25           IT IS SO ORDERED.
26    DATED: September 25, 2020
27                                                  DOLLY M. GEE
                                            UNITED STATES DISTRICT JUDGE
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